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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :     CRIMINAL NO. 21-cr-___
                                                      :
           v.                                         :
                                                      :     VIOLATIONS:
CALEB BERRY,                                          :
                                                      :     18 U.S.C. §§ 371, 1512(c)(2), 2
                        Defendant.                    :


                                       INFORMATION

         The United States Attorney charges that, on or about the dates and at or around the times

  set forth below:

                                             Introduction

  The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

         1.      The 2020 United States Presidential Election occurred on November 3, 2020.

         2.      The United States Electoral College (“Electoral College”) is a group required by

  the Constitution to form every four years for the sole purpose of electing the president and vice

  president, with each state appointing its own electors in a number equal to the size of that state’s

  Congressional delegation.

         3.      On December 14, 2020, the presidential electors of the Electoral College met in the

  state capital of each state and in the District of Columbia and formalized the result of the 2020

  U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have won

  sufficient votes to be elected the next president and vice president of the United States.

         4.      On January 6, 2021, a Joint Session of the United States House of Representatives

  and the United States Senate (“the Joint Session”) convened in the United States Capitol (“the

  Capitol”) building.   The purpose of the Joint Session was to open, count, and resolve any
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objections to the Electoral College vote of the 2020 U.S. Presidential Election, and to certify the

results of the Electoral College vote (“Certification of the Electoral College vote”) as set out in the

Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

                        The Attack at the U.S. Capitol on January 6, 2021

        5.      The Capitol is secured 24 hours a day by United States Capitol Police (“Capitol

Police”). The Capitol Police maintain permanent and temporary barriers to restrict access to the

Capitol exterior, and only authorized individuals with appropriate identification are allowed inside

the Capitol building.

        6.      On January 6, 2021, at approximately 1:00 p.m., the Joint Session convened in the

Capitol building for the Certification of the Electoral College vote. Vice President Michael R.

Pence, in his constitutional duty as President of the Senate, presided over the Joint Session.

        7.      A large crowd began to gather outside the Capitol perimeter as the Joint Session

got underway. Crowd members eventually forced their way through, up, and over Capitol Police

barricades and advanced to the building’s exterior façade. Capitol Police officers attempted to

maintain order and stop the crowd from entering the Capitol building, to which the doors and

windows were locked or otherwise secured. Nonetheless, shortly after 2:00 p.m., crowd members

forced entry into the Capitol building by breaking windows, ramming open doors, and assaulting

Capitol Police officers. Other crowd members encouraged and otherwise assisted the forced

entry. The crowd was not lawfully authorized to enter or remain inside the Capitol, and no crowd

member submitted to security screenings or weapons checks by Capitol Police or other security

officials.

        8.      Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate

(including Vice President Pence)—who had withdrawn to separate chambers to resolve an

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objection—were evacuated from their respective chambers. The Joint Session was halted while

Capitol Police and other law-enforcement officers worked to restore order and clear the Capitol of

the unlawful occupants.

       9.       Later that night, law enforcement regained control of the Capitol.                  At

approximately 8:00 p.m., the Joint Session reconvened, presided over by Vice President Pence,

who had remained hidden within the Capitol building throughout these events.

       10.      In the course of these events, over 100 members of law enforcement were assaulted.

The Capitol suffered millions of dollars in damage—including broken windows and doors, graffiti,

and residue from pepper spray, tear gas, and fire extinguishers deployed both by crowd members

who stormed the Capitol and by Capitol Police officers trying to restore order. Additionally,

many media members were assaulted and had cameras and other news-gathering equipment

destroyed.

                                         COUNT ONE
                                  (Conspiracy—18 U.S.C. § 371)

       11.      The introductory allegations set forth in paragraphs 1 through 10 are re-alleged and

incorporated by reference as though set forth herein.

                                          The Conspiracy

       12.      From at least as early as November 3, 2020, through January 6, 2021, in the District

of Columbia and elsewhere, the defendant,

                                         CALEB BERRY,

did knowingly combine, conspire, confederate, and agree with others known and unknown to

commit an offense against the United States, namely, to corruptly obstruct, influence, and impede

an official proceeding, that is, the Certification of the Electoral College vote, in violation of Title


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18, United States Code, Section 1512(c)(2).

                                    Purpose of the Conspiracy

       13.      The purpose of the conspiracy was to stop, delay, and hinder the Certification of

the Electoral College vote.

                                       Manner and Means

       14.      BERRY and others known and unknown carried out the conspiracy through the

following manner and means, among others:

             a. Agreeing to participate in and planning an operation to interfere with the

                Certification of the Electoral College vote on January 6, 2021 (the “January 6

                operation”);

             b. Attending or scheduling trainings to teach and learn paramilitary combat tactics in

                advance of the January 6 operation;

             c. Using websites, social media, text messaging, and messaging applications to recruit

                other individuals to travel to Washington, D.C., to support the January 6 operation;

             d. Coordinating in advance with others, including members of the Oath Keepers from

                other regions, and joining forces with these individuals and groups to further the

                January 6 operation;

             e. Traveling to Washington, D.C., for the January 6 operation;

             f. Bringing and contributing paramilitary gear and supplies—including firearms,

                camouflaged combat uniforms, tactical vests with plates, helmets, eye protection,

                and radio equipment—for the January 6 operation;

             g. Donning clothes with the Oath Keepers insignia for the January 6 operation;



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             h. Changing into paramilitary gear—including helmets—before participating in the

                 January 6 operation;

             i. Moving together in a military “stack” formation while utilizing hand signals to

                 maintain communication and coordination while advancing toward the Capitol as

                 part of the January 6 operation;

             j. Forcibly storming past exterior barricades, Capitol Police, and other law

                 enforcement officers, and entering the Capitol in executing the January 6 operation;

                 and

             k. Using secure and encrypted communications applications like Signal 1 and Zello 2

                 to develop plans and later communicate during the January 6 operation.

                                             Overt Acts

       15.       On December 31, 2020, BERRY and others known and unknown participated in a

GoToMeeting 3 titled “florida dc op planning chat.”

       16.       On January 3, 2021, BERRY and others known and unknown participated in a

GoToMeeting titled “dc planning call.”

       17.       On January 3, 2021, BERRY and others known and unknown joined an invitation-

only encrypted Signal group message titled “OK FL DC OP Jan 6.”




       1
           Signal is an encrypted messaging service.

       2
        Zello is an application that emulates push-to-talk walkie-talkies over cellular telephone
networks. Zello can be used on electronic communication devices, like cellular telephones and
two-way radios.

       3
        GoToMeeting is an online meeting site that allows users to host conference calls and
video conferences via the Internet in real time.
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       18.     On January 4 and 5, 2021, BERRY and others known and unknown traveled

together to the Washington, D.C., metropolitan area.

       19.     On January 5, 2021, BERRY and others known and unknown dropped off firearms

at the Comfort Inn Ballston hotel in Arlington, Virginia.

       20.     From January 5 to 7, 2021, BERRY and others known and unknown stayed at the

Hilton Garden Inn hotel in Washington, D.C.

       21.     On January 5, 2021, BERRY and others known and unknown traveled to and then

observed the restricted Capitol grounds.

       22.     On January 6, 2021, BERRY and others known and unknown equipped themselves

with communication devices and reinforced vests, helmets, and goggles, and donned clothing and

patches with the Oath Keepers name, logo, and insignia.

       23.     On January 6, 2021, at 2:28 p.m., BERRY and others known and unknown entered

the restricted Capitol grounds.

       24.     At 2:35 p.m., BERRY and others known and unknown joined together in a “stack”

or column formation and maneuvered in an organized fashion up the steps on the east side of the

Capitol—each member keeping at least one hand on the shoulder of the other in front of them.

       25.     At the top of the steps, BERRY and others known and unknown joined and then

pushed forward as part of a mob that aggressively advanced towards the Rotunda Doors at the

central east entrance to the Capitol, assaulted the officers guarding the doors, threw objects and

sprayed chemicals towards the officers and the doors, and pulled violently on the doors.

       26.     At 2:40 p.m., shortly after the mob breached the Rotunda Doors, BERRY and others

known and unknown forced their way through the doors into the Capitol.



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         27.      As they entered the Capitol, BERRY and others known and unknown joined the

larger mob in pushing past at least one law enforcement officer who was trying to stop them from

breaching the Capitol building.

         28.      After penetrating the Capitol building, BERRY and others known and unknown

collectively moved into an area inside the building known as the Capitol Rotunda.

         29.      As they navigated through the Capitol Rotunda, BERRY and others known and

unknown continued to communicate with one another by keeping their hands on each other’s

backs.

         30.      BERRY and others known and unknown then walked southbound out of the

Rotunda and towards the House of Representatives.

         31.      At 2:59 p.m., BERRY and others known and unknown left the Capitol building.

         32.      Shortly after 4:00 p.m., BERRY and others known and unknown gathered together

approximately 100 feet from the Capitol, near the northeast corner of the building.

         33.      On January 7, 2021, BERRY and others known and unknown retrieved firearms

from the Comfort Inn Ballston hotel in Arlington, Virginia.

                      (In violation of Title 18, United States Code, Section 371)

                                            COUNT TWO
               (18 U.S.C. §§ 1512(c)(2), 2—Obstruction of an Official Proceeding and
                                         Aiding and Abetting)

         34.      Paragraphs 1 through 10 and 15 through 33 of this Information are re-alleged and

incorporated as though set forth herein.

         35.      On January 6, 2021, in the District of Columbia and elsewhere, the defendant,

                                           CALEB BERRY

attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, a

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proceeding before Congress, specifically, Congress’s certification of the Electoral College vote as

set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

              (In violation of Title 18, United States Code, Sections 1512(c)(2), 2)



                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
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                                             D.C. Bar No. 415793




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